     Case 1:08-cr-00025-DAD Document 50 Filed 08/18/08 Page 1 of 2


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     Attorney at Law
 2   J.M. IRIGOYEN LAW CORPORATION
     2131 Amador
 3   Fresno, CA 93721
 4   (559) 233-3333
 5   Attorney for Defendant
     LUIS RODRIGUEZ LINARES
 6
 7                 UNITED STATES DISTRICT COURT FOR THE
 8                    EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,  )       Case No. 08 cr 25 OWW
10                              )
          Plaintiff,            )
11                              )
          vs.                   )       STIPULATION TO STATUS
12                              )       CONFERENCE & MOTION HEARING
     HUMBERTO QUINTERO, et a., )
13                              )
          Defendants.           )
14   ___________________________)
15        It is stipulated and agreed between the parties that the
16   STATUS CONFERENCE/MOTION HEARING in the above matter currently
17   set for AUGUST 18, 2008, be continued to SEPTEMBER 8, 2008 at
18   9:00 a.m. The parties agree that the delay resulting from the
19   continuance shall be excluded in the interests of justice,
20   including but not limited to, the need for the period of time
21   set further herein for effective defense preparation and the
22   resolution of pre-trial motions that are pending pursuant to
23   18 U.S.C. §§ 3161(h)(l)(F), 3161(h)(8)(A) through 9-8-08.
24   I hereby agree to the above stipulation.
25   Dated: August 14, 2008             s/J.M. Irigoyen
26
                                        by:J.M. Irigoyen
27                                      Attorney for Defendant
                                        Luis Rodriguez Linares
28

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      Case 1:08-cr-00025-DAD Document 50 Filed 08/18/08 Page 2 of 2


 1   I hereby agree to the above stipulation.
 2   Dated: August 14, 2008
                                        s/Keith Martin
 3
                                         Keith Martin
 4                                       Attorney for Defendant
                                         Humberto Ortega Quintero
 5
 6
     I hereby agree to the above stipulation.
 7
     Dated: August 14, 2008
 8                                      s/John A. Garcia
 9                                       John A. Garcia
                                         Attorney for Defendant
10                                       ares
11
12   I hereby consent to the above stipulation.
13   DATED: August 14, 2008
                                        s/Kimberly Sanchez
14
                                        _________________________
15                                      Kimberly Sanchez
                                        Assistant U.S. Attorney
16
17                       ORDER CONTINUING HEARING DATE

18
          IT IS SO ORDERED.      Time is excluded in the interests
19
     of justice pursuant to 18 U.S.C. §§ §§ 3161(h)(l)(F),
20
     3161(h)(8)(A) and 3161(h)(8)(B)(I).
21
22   IT IS SO ORDERED.

23   Dated: August 14, 2008                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
24
25
26
27
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